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                        Exhibit 1
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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                     BCO-080-E
                                     No. 23-1900

                  Ronald Koons; Nicholas Gaudio; Jeffrey M. Muller;
    Gil Tal; Second Amendment Foundation, Inc.; Firearms Police Coalition, Inc.;
   Coalition of New Jersey Firearm Owners; New Jersey Second Amendment Society

                                          v.

       Attorney General New Jersey and Superintendent New Jersey State Police

 President of the New Jersey State Senate, Speaker of the New Jersey General Assembly,
                              Intervenors in District Court

                              (D.N.J. No. 1:22-cv-07464)

               Aaron Siegel; Jason Cook; Joseph Deluca; Nicole Cuozzo;
                   Timothy Varga; Christopher Stamos; Kim Henry;
                Association of New Jersey Rifle and Pistol Clubs, Inc.

                                         v.
         Attorney General New Jersey; Superintendent New Jersey State Police

 President of the New Jersey State Senate; Speaker of the New Jersey General Assembly;
                              Intervenors in District Court

                              (D.N.J. No. 1:22-cv-07463)

Present: KRAUSE, PORTER, and CHUNG Circuit Judges

      1. Emergency Motion for Stay Pending Appeal

      2. Response by Siegel Plaintiffs-Appellees to Motion for Stay Pending Appeal

      3. Response by Koons Plaintiffs-Appellees to Motion for Stay Pending Appeal

      4. Reply in Support of Motion for Stay Pending Appeal

                                                     Respectfully,
                                                     Clerk/sb
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_________________________________ORDER________________________________
The Emergency Motion for Stay Pending Appeal is hereby GRANTED in part and
DENIED in part. The requested stay is GRANTED as to the preliminary injunction of
N.J. Stat. Ann. §§ 2C:58-4.6(a)(6), (a)(9), (a)(10), (a)(12), (a)(15), (a)(17), (a)(18),
(a)(21), as we conclude the applicable factors warrant such a stay, see In re Revel AC,
Inc., 802 F.3d 558, 568 (3d Cir. 2015).1 The requested stay is otherwise DENIED.

The Clerk’s Office is instructed to issue an expedited briefing schedule forthwith.

                                                        By the Court,

                                                        s/ Cheryl Ann Krause
                                                        Circuit Judge

Dated: June 20, 2023
SB/JK/cc:    All Counsel of Record




       1
       Judge Porter dissents from this aspect of the order and would have denied the
Emergency Motion for Stay Pending Appeal.
